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                                                                                               PS/CD
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 DE MING WANG,
                                Petitioner,                          Case # 17-CV-6263-FPG

 v.                                                                  DECISION AND ORDER

 THOMAS P. BROPHY, et al.,

                         Respondents.
___________________________________

                                        INTRODUCTION

       Petitioner De Ming Wang, who has been detained at the Buffalo Federal Detention Facility

in Batavia, New York since September 6, 2016 in connection with removal proceedings, seeks a

writ of habeas corpus pursuant to 28 U.S.C. § 2241. ECF No. 1. Petitioner asks the Court for

immediate release or an individualized bond hearing by an immigration judge. Id. For the reasons

that follow, the Petition is granted to the extent that the Court finds Petitioner entitled to an

individualized bond hearing in which the Government must prove by clear and convincing

evidence that Petitioner’s continued detention is justified based on flight risk or danger to the

community. Respondents must provide Petitioner this hearing with 14 days of this Decision and

Order. The Petition is otherwise denied.

                                         BACKGROUND

       Petitioner is Chinese citizen. ECF No. 1 at 1. He first entered the United States in Los

Angeles in 1990. Id. at 6. He filed for asylum in 1993 and 1995 and both applications were denied.

Id.; ECF No. 4-2 at 3-4. Petitioner’s asylum applications were filed using different names,

birthdates, grounds for seeking asylum, and dates he entered the United States, and Petitioner failed

to disclose his 1993 asylum application on his 1995 asylum application. ECF No. 4-2 at 2.


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         Petitioner married a United States Citizen and later became a lawful permanent resident on

May 16, 2000. ECF No. 1 at 6; ECF No. 4-2 at 2. Petitioner failed to disclose the prior asylum

applications, his aliases, and prior marriages on his application to adjust his status to permanent

resident. ECF No. 4-2 at 3. In 2010, Petitioner was convicted of grand larceny and trademark

infringement arising from a single scheme of misconduct in Virginia. ECF No. 1 at 6; ECF No.

4-2 at 3. He renewed his lawful permanent resident status in 2014. ECF No. 1 at 6.

         In September 2016, Petitioner took a brief trip to Niagara Falls, Ontario, Canada and was

detained upon his attempted re-entry into the United States. Id. at 7. He was placed in immigration

removal proceedings and charged with being inadmissible as an alien who has committed a crime

involving moral turpitude, pursuant to the Immigration and Nationality Act (“INA”) §

212(a)(2)(A)(i)(I), 8 U.S.C. § 1182(a)(2)(A)(i)(I), and as an alien who by fraud or willful

misrepresentation of a material fact procured a visa or other U.S. immigration benefit, pursuant to

INA § 212(a)(6)(C)(i), 8 U.S.C. § 1182(a)(6)(C)(i). ECF No. 1 at 7; ECF No. 4-2 at 3-4. Petitioner

was later charged with being inadmissible as an immigrant who, at the time of application for

admission, did not possess a valid unexpired immigrant visa, pursuant to INA § 212(a)(7)(A)(i)(I),

8 U.S.C. § 1182(a)(7)(A)(i)(I). ECF No. 4-2 at 4

         Petitioner has appeared for immigration proceedings at the Batavia Immigration Court

numerous times, and those proceedings remain pending. ECF No. 1 at 7. Petitioner now brings

this § 2241 Petition challenging his prolonged detention as contrary to 8 U.S.C. § 1225(b)(2)(A)

and seeking immediate release or an individualized bond hearing by an immigration judge. ECF

No. 1.




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                                          DISCUSSION

       A district court is authorized “to grant a writ of habeas corpus whenever a petitioner is ‘in

custody in violation of the Constitution or laws or treaties of the United States.’” Wang v. Ashcroft,

320 F. 3d 130, 140 (2d Cir. 2003) (quoting 28 U.S.C. § 2241(c)(3)).

       Petitioner argues that his prolonged detention under § 1225(b)(2)(A) without an

individualized bond hearing violates the Due Process Clause of the Fifth Amendment. ECF No. 1

at 11-15. Respondents argue that, as an inadmissible arriving alien, Petitioner “does not enjoy the

same constitutional rights as an admitted alien,” and Petitioner is therefore not entitled to a bond

hearing. ECF No. 4-1 at 2, 6-8. Respondents assert that Petitioner’s continued detention does not

violate the Due Process Clause and therefore the Court should deny his Petition.

       An alien who arrives in the United States, or is present in the United States but has not

been admitted, is treated as an applicant for admission or an arriving alien. 8 U.S.C. § 1225(a)(1);

8 C.F.R. § 1001.1 (“Arriving alien means an applicant for admission coming or attempting to come

into the United States at a port-of-entry, or an alien seeking transit through the United States at a

port-of-entry.”). If an examining immigration officer determines that an arriving alien “is not

clearly and beyond a doubt entitled to be admitted, the alien shall be detained” for removal

proceedings. 8 U.S.C. § 1225(b)(2)(A).

       A legal permanent resident who reenters the country is generally not considered an arriving

alien and cannot be detained pursuant to § 1225(b). See 8 U.S.C. § 1101(a)(13)(C). But a legal

permanent resident may be considered an arriving alien and detained pursuant to § 1225(b) if he

“has committed an offense identified in [8 U.S.C. § 1182(a)(2)].”                  See 8 U.S.C. §

1101(a)(13)(C)(v). Here, Respondents contend that Petitioner’s 2010 convictions constitute




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crimes involving moral turpitude and thus Petitioner is inadmissible under 8 U.S.C. § 1182(a)(2)

and subject to mandatory detention under 8 U.S.C. § 1225(b)(2)(A). ECF No. 4-1 at 3-5.

          Section 1225(b) “contains no limitation on the length of an individual’s detention.” Perez

v. Decker, No. 18 Civ. 5279 (VEC), 2018 WL 3991497, at *2 (S.D.N.Y. Aug. 20, 2018). Petitioner

relies heavily on Lora v. Shanahan, 804 F. 3d 601 (2d Cir. 2015), in support of his request for a

bond hearing due to his prolonged detention. In Lora, the Second Circuit held that, to avoid the

constitutional concerns raised by the prospect of indefinite detention, an immigrant detained

pursuant to a statute requiring mandatory detention pending removal proceedings must be afforded

a bail hearing before an immigration judge within six months of his detention. Lora, 804 F. 3d at

616. However, after Petitioner’s filing, Lora was vacated in light of the Supreme Court’s decision

in Jennings v. Rodriguez, — U.S. —, 138 S. Ct. 830 (2018). See Shanahan v. Lora, — U.S. —,

138 S. Ct. 1260 (2018).1

          While the Supreme Court held that aliens detained pursuant to § 1225(b) are not statutorily

entitled to periodic bond hearings, it did not determine whether arriving aliens facing prolonged

detention are entitled to a bond hearing as a matter of constitutional Due Process. Jennings, 138

S. Ct. at 851. Thus, “[n]either the Supreme Court nor the Second Circuit has resolved the broad

question of whether an arriving alien detained pursuant to 8 U.S.C. § 1225(b) is entitled to a bond

hearing when his or her detention becomes unreasonable in violation of the Due Process Clause

of the Fifth Amendment.” Brissett v. Decker, 324 F. Supp. 3d 444, 450 (S.D.N.Y. 2018) (emphasis

added).




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 Petitioner also asked the Court to consider a November 17, 2107 order in case # 17-CV-721-EAW, Abdi and Barrios
Ramos v. Duke, et al. ECF No. 9-1. A review of that case docket reveals that this order was appealed, the parties
consented to remand in light of the Supreme Court’s decision in Jennings, and a motion to vacate the order remains
pending in that court.

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       Respondents would have the Court conclude that, given Petitioner’s status as an

inadmissible arriving alien, Petitioner has limited or no due process rights and may therefore be

detained indefinitely. See ECF No. 4-1 at 8. While an inadmissible arriving alien’s rights may

be limited, courts in this Circuit have held that such an individual has sufficient due process rights

to challenge his prolonged mandatory detention. See Brissett, 324 F. Supp. 3d at 449-453 (finding

that a legal permanent resident deemed an inadmissible arriving alien based on convictions

involving crimes of moral turpitude who was detained for more than nine months retained due

process rights entitling him to an individualized bond hearing). In Petitioner’s circumstance,

where he has now been detained for more than two years awaiting removal, the Court finds that

Petitioner’s detention has become unreasonable in violation of the Due Process Clause. Id.; see

also Perez, 2018 WL 3991497, at *3 (agreeing with a number of courts in the Second Circuit who

have found that individuals detained pursuant to § 1225(b) have due process rights “that require

courts to consider challenges to the length of their detentions”). In making this finding, the Court

does not express an opinion as to whether Petitioner’s continued detention is no longer justified.

See Lett v. Decker, No. 18 CIV. 4302 (JCM), 2018 WL 4931544, at *5 (S.D.N.Y. Oct. 10, 2018)

(noting that the court, in granting petitioner’s request for a bond hearing, “merely recognizes that

on the facts presented, the Due Process Clause entitles [p]etitioner to an individualized bond

hearing before an immigration judge”).

       The Court finds that Petitioner’s prolonged, two-year detention pursuant to § 1225(b)

without a bond hearing is unreasonable and is thus unconstitutional as applied to him. See Brisset,

324 F. Supp. 3d at 455; Perez, 2018 WL 3991497, at *5 (finding petitioner’s nine-month detention

unreasonable post-Jennings); Lett, 2018 WL 4931544, at *5 (finding Petitioner’s ten-month

detention without a bond hearing unreasonable post-Jennings). Consistent with other courts in



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this Circuit, the Court further finds that Respondents must prove by clear and convincing evidence

that Petitioner’s continued detention is justified. Lett, 2018 WL 4931544, at *6 (collecting cases).

Accordingly, Petitioner’s request for habeas relief is granted to the extent that he must be afforded

an individualized bond hearing in which the Government must prove by clear and convincing

evidence that Petitioner’s continued detention is justified based on flight risk or danger to the

community.

                                          CONCLUSION

       For the reasons stated, Petitioner’s request for habeas relief pursuant to 28 U.S.C. § 2241

is granted to the extent that he is entitled to an individualized bond hearing in which the

Government must prove by clear and convincing evidence that Petitioner’s continued detention is

justified based on flight risk or danger to the community. Respondents must provide Petitioner

such a hearing with 14 days of this Decision and Order. The Petition is otherwise denied and the

Clerk of Court is directed to close this case.

       IT IS SO ORDERED.

Dated: January 3, 2019
       Rochester, New York                       ______________________________________
                                                 HON. FRANK P. GERACI, JR.
                                                 Chief Judge
                                                 United States District Court




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